                      LEEDS BROWN LAW, P.C.
                                 One Old Country Road, Ste. 347
                                     Carle Place, NY 11514
                                        (516) 873-9550

________________________________ Attorneys at Law_______________________________

Via ECF                                              March 12, 2020

Honorable Judge Gary R. Brown
United Stated District Court
Eastern District of New York
100 Federal Plaza
Central Islip, NY 11722

Re:    Trimboli v. County of Nassau, et al., 17-CV-7441

Dear Judge Brown:

       This office represents the Plaintiff in the above matter. On January 23, this office sent the
Court a joint request which stated:

       As the Court is aware, the parties have engaged in extensive settlement negotiations with the
       assistance of the Court over the course of a year, with multiple settlement conferences.
       Substantial time and effort has gone into constructing a settlement agreement with the
       Court’s assistance. Part of the agreement involved the possibility of Your Honor holding a
       hearing to review a determination by New York State Retirement System (“NYSRS”)
       regarding the payment of additional money to my client as overtime back pay. Your Honor
       creatively developed the plan to have this Court to hold a hearing in the event that the
       NYSRS would not include the back pay as part of the plaintiff’s final average salary. The
       settlement largely hinged upon this and upon this Court retaining jurisdiction of this matter
       to oversee the settlement and the possible reinstatement of the case if the settlement is not
       consummated. In light of the Court’s extensive involvement and the fact that the case may
       not settle without the Court’s continued participation, the parties jointly request that Your
       Honor retain jurisdiction over this matter.

       We would like to start the process with the NYSRS. Accordingly, we respectfully reiterate
our request.

                                                             Respectfully submitted,

                                                        LEEDS BROWN LAW, P.C.
                                                        _________s/_____________
                                                        Rick Ostrove
Cc: Opposing Counsel and Magistrate Judge Lindsay (via ECF)
